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                                          Steven M. Bauer, Esq.
                                          Case Manager
                                          Julia Jajaga
                                          T: 617-228-9168
                                          F: 617-228-0222
                                          One Beacon Street, Suite 2210, Boston, MA 02108
                                          JJajaga@jamsadr.com




  Steven M. Bauer is available to conduct cases virtually. JAMS is equipped to provide virtual ADR services on a
  variety of online platforms, including Zoom, Microsoft Teams, WebEx, and more.




Biography

Steven M. Bauer, Esq., joins JAMS after a distinguished career with leading international law firm Proskauer, where he
co-chaired the firm's national patent and intellectual property group and was a member of its international arbitration
practice group. Mr. Bauer specializes in resolving life sciences and technology disputes, particularly those involving
complex patent, trade secret, trademark, copyright and licensing issues.
As an advocate, Mr. Bauer has been lead trial counsel in over 30 trials involving a wide array of technologies,
representing emerging companies, multinational businesses, and major research universities. He has tried cases in every
major U.S. forum and has argued more than a dozen appeals at the Federal Circuit.

As both an advocate and a neutral, Mr. Bauer has earned the respect of his colleagues and clients. He has garnered a
reputation for his intelligence; a tenacity balanced by an even-keeled demeanor; and a direct, business-minded approach.
Known for his ability to grasp the scientific and technological concepts in both life sciences and technology cases, Mr.
Bauer has worked on matters ranging from surgical, medical, genetic and biomolecular diagnostic, research and
therapeutic technologies; to high-temperature superconductors and lithium- ion battery chemistry; to the algorithms used
for voice recognition, speech generation and data encryption in smartphones. He has also been lead counsel in cases
involving proton beam therapy, DNA sequencing, high- energy plasma devices, nanomaterials, semiconductors and
satellite communications.
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Chambers USA ranked Mr. Bauer as one of only five "Band 1" IP trial lawyers in Boston, noting his “stellar reputation for
achieving outstanding results,” that he is "pragmatic and flexible," and that he is "a great strategist" and "proven trial
attorney." The IAM Patent 1000 reports that he “can grasp the technical details of a particular patent matter to the same
degree as the inventor.”
As one general counsel noted, “For more than a decade, I entrusted Steve with the most significant, most impactful, most
complex IP litigation for my global technology company. His open, honest and direct approach, combined with his highly
sophisticated legal acumen and technical excellence, helped us achieve fantastic results, and he always acted with
integrity, sincerity and purpose.”

ADR Experience and Qualifications
As a mediator, arbitrator and Special Master, Mr. Bauer’s practice is both international and domestic for cases involving
technology and life sciences disputes. He is vice-chair of the ADR committee of the International Association for the
Protection of Intellectual Property (AIPPI) and has been on the American Arbitration Association’s (AAA) panel of neutrals
since 1987 and, more recently, on the AAA’s International Centre for Dispute Resolution (ICDR) life sciences panel. In
addition to his work for AAA in the U.S., he has acted as a party advocate or a neutral arbitrator in arbitrations in France,
Germany, Switzerland and the United Kingdom in matters administered by the International Chamber of Commerce (ICC)
and the German Arbitration Institute (DIS). He has had unparalleled success in helping parties find a creative and unique
solution or pathway to resolution. Clients consistently praise him for the way he addresses cases within both the life
sciences and technology industries. “The depth of Steve’s knowledge and experience with patent litigation marries
incredibly well with his judgment, intuition and ability to read people, making him an exceptional strategic advisor and
negotiator.”
Mr. Bauer has been lead counsel for Dutch, German, French, Danish, British, Israeli, Japanese and Chinese clients in
settlement negotiations and mediations around the world.
Representative Matters: Life Sciences, Medical Devices, Biology and Chemistry
      ArcherDx* v. Qiagen (D. Del.): Represented emerging life sciences company in a two-patent infringement and
      misappropriation of trade secrets case relating to anchored multiplex PCR technology
      Oxford Immunotec* v. Qiagen (D. Mass.): Represented Oxford in a multi-patent case relating to assays for
      detecting tuberculosis. After a number of positive developments in the case, Qiagen settled the case, taking a
      license to the patents.
      Amgen v. Genentech (D. Del.): Represented Amgen in defending a BPCIA case relating to its launch of a biosimilar
      to Avastin; the case settled with Amgen remaining on the market with its product
      BASF and Argonne National Laboratory* v. Umicore (U.S. International Trade Commission): Lead counsel for
      Argonne in its enforcement of patents relating to lithium-ion battery material; the ITC found the patents valid and
      infringed, and issued an exclusion order
      NISTAC v. American Honda* (D. Mich.): Lead trial counsel for American Honda in a patent infringement action
      brought by the National Institute for Strategic Technology Acquisition and Commercialization on patents relating to
      automobile piston coating chemistry; after a Markman decision weakened the patent holder’s case, the case was
      dismissed
      AsymmetRx Medical* v. Biocare: Lead arbitration counsel for the patent owner in a license enforcement case
      relating to the p63 antibody, discovered at Harvard University and used to diagnose prostate cancer; after obtaining
      an arbitration decision that the defendant was manufacturing without a license, the case settled with entry of a
      consent judgment
      Jacobson v. Celgene Corp.* (D. N.J.): Lead counsel for Celgene in an action for misappropriation of the idea to use
      thalidomide to treat multiple myeloma, a cancer of the blood; obtained summary judgment in Celgene’s favor
      PSN Illinois v. Ivoclar Vivadent* (N.D. Ill., Fed. Cir.): Represented Ivoclar, the world's leading manufacturer of dental
      crowns and implants, in the defense of a patent case seeking over $50 million in damages; Ivoclar obtained
      summary judgment of non-infringement, which was affirmed on appeal
      Massachusetts Institute of Technology* & American Superconductor Corp. v. Rogan (D. Mass.): Represented MIT
      (a co-plaintiff with American Superconductor) in this 35 U.S.C. § 146 appeal from the Patent Office regarding the
      scope of MIT's patent on high-temperature superconducting technology; after a bench trial, the court affirmed the
      validity and broad scope for this MIT patent
      Massachusetts Institute of Technology* v. Dharmacon and Fisher Scientific (D. Mass.): Represented MIT in a
      patent infringement and breach of contract case relating to RNAi technology; the case settled with a license to
      Dharmacon
      Candela Corp.* v. The Regents of the University of California (American Arbitration Association): Represented
      Candela in an arbitration relating to a patent license dispute involving cryogenic cooling devices used for cosmetic
      laser surgery; after a one-week evidentiary hearing, Candela obtained a license to the technology
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     Polyclad Laminates Inc. v. MacDermid Corp.* (D. N.H.): Represented MacDermid in its defense of a patent
     infringement action relating to the chemical components used in printed circuit board manufacture; after an
     evidentiary Markman hearing, the court issued a summary judgment of non-infringement
Representative Matters: Technology, Software and Electronics
     Adrea* v. Barnes & Noble (S.D.N.Y.): Lead trial counsel in a jury trial relating to Barnes & Noble’s Nook device; the
     jury found patent infringement and damages
     MobileMedia Ideas LLC* v. Apple Inc. (D. Del.): Lead trial counsel in two cases against Apple related to features of
     the iPhone; the jury found infringement with respect to all four asserted patents
     ARRIS Group v. SeaChange International* (D. Del.): Lead trial counsel in defense of a contempt motion alleging
     that SeaChange’s redesigned product violated a permanent injunction; after an evidentiary hearing, the court found
     in SeaChange’s favor
     Speedtrack v. Wal-Mart Stores, Inc. and Endeca Technologies* (N.D. Cal.): Represented Endeca (now owned by
     Oracle) and its customer, Walmart.com, in a case relating to the search algorithms powering online retail websites;
     Endeca obtained a summary judgment of non-infringement
     Transamerica Life Insurance Co.* v. Lincoln National Life Insurance Co. (N.D. Iowa, N.D. Ind., Fed. Cir.): On behalf
     of Transamerica, obtained reversal of a $13-million judgment on appeal
     Biax Corp. v. Analog Devices, Inc.* (E.D. Tex.): Lead trial counsel in defending against five patents relating to digital
     signal processing in parallel computer architecture; the case settled on the eve of trial
     Analog Devices* v. Knowles Electronics (D. Del., N.D. III., U.S.I.T.C.): Lead trial counsel in two district court and two
     ITC cases asserting two patents and defending against two patents relating to micromechanical electronic (MEMS)
     microphones; after trial, the ITC found the Knowles patents invalid and the Analog patents valid and infringed, and
     entered an exclusion order against Knowles
     C2 v. Global Crossing*, Qwest,* and Level 3* (E.D. Tex.): Represented three telecommunications companies and
     their supplier (Sonus Networks) in the defense of a patent case relating to VoIP switching technologies; the case
     settled during trial
     Beam Laser Systems, Inc. v. SeaChange International, Inc.* and Cox Communications, Inc.* (E.D. Va.):
     Represented SeaChange, the leading manufacturer of video-on-demand servers, and its customer, Cox
     Communications, in defending against three patents in a case with a demand of $100 million; after an evidentiary
     Markman hearing, the court granted summary judgment of non-infringement
     Digital Privacy, Inc. v. RSA Security Inc.* (E.D. Va.): Defended RSA Security against claims that its SecurID®
     security product infringed three patents; after an evidentiary hearing, the court granted summary judgment of
     noninfringement
     France Telecom v. RSA Security Inc.* (International Chamber of Commerce, Paris, France): Represented RSA
     Security in a patent license dispute relating to an encryption algorithm in which the demand against RSA was for
     more than $100 million; after a one-week evidentiary hearing in Paris, the arbitrator found in RSA's favor and
     awarded legal fees
     Hypertherm, Inc.* v. American Torch Tip Co. (M.D. Fla., D. N.H.): Represented Hypertherm in asserting six patents
     involving high-energy plasma torches; after a trial, the jury found that the defendant willfully infringed Hypertherm's
     patents
     MKS Instruments, Inc.* v. Advanced Energy Corp. (D. Del.): Represented MKS Instruments against Advanced
     Energy Corp. in two cases relating to high-energy plasma processing equipment; in the first case, the jury returned
     a verdict of infringement and awarded damages; in a second trial against a "revised" product, the jury again found
     infringement
     MKS Instruments, Inc.* v. NPP (N.D. Calif.): Represented MKS in obtaining a TRO and then preliminary injunction
     against the sale of accused products being imported by a Korean company
     Pall Corp. v. Micron Separations, Inc.* (D. Mass.; Fed. Cir. U.S. Bankruptcy Ct.): Represented Micron Separations
     in its appeal of an infringement decision adverse to it and, simultaneously, in a trial relating to its ultrafiltration
     products; Micron Separation's appeal was heard en banc by the Federal Circuit, as the non-jury companion case
     to the Federal Circuit's decision in Markman v. Westview; in addition, represented Micron Separations in a tort and
     breach of contract trial in bankruptcy court alleging Pall's bad faith patent litigation; after trial, the bankruptcy court
     awarded $3.7 million to Micron
     ReSource America, Inc.* v. Republic Packaging Corp. (N.D. Ill.): Represented ReSource America in a trial involving
     a business method for recycling products efficiently; after trial, the court found that the defendant willfully infringed
     Rubbermaid Incorporated* v. Tucker Housewares Corp. (D. Mass.): Represented Rubbermaid against its largest
     competitor, Tucker Housewares, for infringement of utility and design patents, trade dress and copyrights in
     connection with various storage products; after trial, Tucker was found liable, and an injunction was issued
Federal Circuit Appeals
     MobileMedia Ideas LLC v. Apple Inc. (Fed. Cir. 2013): Argued in favor of a trial verdict of infringement in client's
     favor, and for reversal of a summary judgement of non-infringement of a different patent
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      Ncube Corp. v. SeaChange Int'l. Inc., 732 F.3d 1346 (Fed. Cir. 2013): Judgment of no contempt affirmed, in client's
      favor
      Speedtrack, Inc. v. Walmart.com USA, LLC, 524 Fed.Appx. 651, 106 U.S.P.Q.2d 1442 (Fed. Cir. 2013): Judgment
      of infringement affirmed, in client's favor
      Knowles Electronics v. ITC, 462 Fed.Appx. 957 (Fed. Cir. 2012): Appeal dismissed pursuant to settlement
      Knowles Electronics v. ITC, 2011, 458 Fed.Appx. 894 (Fed. Cir. 2011): Appeal dismissed pursuant to settlement
      Cognex Corp. v. ITC 2013 WL 6570781 (Fed. Cir. 2013): ITC decision of non-infringement affirmed
      Lincoln National v. Transamerica Life, 609 F.3d 136 (Fed. Cir. 2010): Judgment of infringement reversed, in client's
      favor
      Asymmetrx v. Biocare Medical, 582 F.3d 1314 (Fed. Cir. 2009): Judgment dismissing case vacated, in client's favor
      PSN Illinois v. Ivoclar Vivadent, 525 F.3d 1159 (Fed. Cir. 2008): Judgment of non-infringement affirmed, in client's
      favor
      Ncube Corp. v. SeaChange Int'l. Inc., 436 F.3d 1317 (Fed. Cir. 2006): Affirming infringement against client
      MKS Instruments v. Advanced Energy, 58 Fed.Appx. 480 (Fed. Cir. 2003): Dismissed, in favor of stipulation in favor
      of judgment of infringement in client's favor
      Life Technologies v. Clontech Labs, 224 F.3d 1320 (Fed. Cir. 2000): Finding of inequitable conduct reversed, in
      client's favor
      Pall Corp. v. Micron Separations, Inc., 66 F.3d 1211 (Fed. Cir.1995): Infringement finding affirmed, willful
      infringement finding reversed in client's favor
Other Significant Matters
      Cox Communications v. AT&T (D.Del., N.D. Ga.): Defense of two patent infringement actions against AT&T; at
      issue were a total of 12 patents relating to set-top boxes, cable modems and VoIP telephony; Cox also filed four
      inter partes reviews at the U.S. Patent & Trademark office
      Puma v. Payless ShoeSource (D. Mass.): Represented Payless ShoeSource, the country's largest retailer of shoes,
      in a trademark dispute relating to the stripes on running shoes
      Winklevoss v. Facebook and Zuckerberg (D. Mass.): Boston counsel representing Facebook and Mark Zuckerberg
      in a copyright and contract case relating to the invention of the Facebook social network
      Enterasys v. Foundry Networks (D. Mass.): Represented Foundry in defense of six patents relating to routers and
      bridges
      Agere Systems, Inc. v. Multiplex, Inc. (D. Del.): Defended Multiplex against patent infringement and trade secret
      claims brought by Agere relating to four patents on high-speed optical switching devices
      Arrival Star, Inc. v. Descartes Systems Group Inc. (S.D.N.Y.): Represented Descartes in defending against a 15-
      patent complaint relating to the tracking of packages using GPS and other technologies
      Boston Scientific Corp. v. Circon, Inc. (D. Mass., E.D. Wisc.): Represented Boston Scientific Corp. in asserting and
      then defending against patents relating to urological surgical devices in this seven-patent action
      Comtec Inc. v. Monarch Marking Systems, Inc. (D. R.I.): Defended Comtec in a nine-patent case covering portable
      electronic printers
      Comtech AHA Corp. v. Efficient Channel Coding, Inc. (N.D. Ohio): Represented Comtech in a breach of patent
      license agreement dispute relating to error correction codes used in satellite communications
      Davox Corporation, Inc. v. Digital Systems, Inc. (W.D. Wash.): Represented Davox in asserting and defending
      against patents in a litigation against its primary competitor concerning systems for managing automated call
      centers
      Excel Switching Corp. v. Cisco Systems, Inc. (D. Mass.): Represented Excel Switching in its patent infringement
      action against Cisco asserting a number of patents relating to digital switching technology
      Hypertherm, Inc. v. Inner Logic, Inc. (D. N.H.): Represented Hypertherm in its assertion of two patents relating to a
      plasma ignition circuit
      Luyster v. RSA Security Inc. (D. Mass.): Defended RSA Security in this patent infringement action relating to RSA's
      RC6 encryption algorithm
      Massachusetts Institute of Technology v. Sony Electronics Corp.; Sharp Corp.; Toshiba Corp. (D. Mass.):
      Represented MIT in the enforcement of its 20-patent digital television patent portfolio
      Massachusetts Institute of Technology v. Dharmacon (D. Mass.): Represented MIT in a license dispute involving its
      patents on siRNA technology
      Mediacom, Inc. v. Rates Technology, Inc. (D. Mass.): Represented Mediacom in defending a two-patent case
      involving telephone dialing networks
      Nortel Networks Ltd. v. Foundry Networks, Inc. (D. Mass.): Represented Foundry in defending a four-patent case
      involving packet-switching devices
      Rubbermaid Incorporated v. Sterilite Corporation (D. Mass.): Represented Rubbermaid against a competitor
      involving claims of design patent and trade dress infringement
      ScanSoft, Inc. v. ART Advanced Recognition Technologies, Inc. (D. Mass.): Represented ART in its defense of a
      patent infringement action relating to speech recognition technology
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Honors, Memberships, and Professional Activities

Completed Virtual ADR training conducted by the JAMS Institute, the training arm of JAMS.

Memberships and Affiliations


      Visiting Lecturer, School of Engineering, Massachusetts Institute of Technology, 2012–present
      Member, Board of Advisors, Boston Museum of Science, 2015–present
      Member, Board of Advisors, Huntington Theater Company, 2015–2020
      Member, Dean’s Advisory Board, Boston University Law School, 2015–present
      Member, Alan D. Lourie Boston IP Inn of Court
             Counselor, 2019–2020
             Secretary, 2018–2019
             Treasurer, 2017–2018
      Member, International Association for the Protection of Intellectual Property (AIPPI), 2008–present
             Vice-Chair, ADR Committee, 2012–present
      Member, Boston Patent Law Association
             Co-Chair, Antitrust Committee, 2007
             Co-Chair, Litigation Committee, 2002–2004
      Member, Intellectual Property Owners Association
             Vice Chair, Patent Litigation Committee, 2004–2006
      Member, American Intellectual Property Law Association (AIPLA)
             Editor, AIPLA Quarterly Journal, 2004–2005
      Member, Federal Circuit Bar Association
      Member, Greater Boston Legal Services
             Board of Directors, 2009–2010
      Registered Patent Attorney, United States Patent & Trademark Office


Selected Awards and Honors

      Chambers Global: USA: Intellectual Property: Patents, 2020
      Chambers USA: Massachusetts: Intellectual Property (Band 1), 2004–2020
      Intellectual Asset Management (IAM):
             IP Global Leader, 2020
             Patent Litigation Top 250, 2011
             Patent 1000: The World’s Leading Patent Practitioners, 2012–2018
      Benchmark Litigation Star, 2011–2021
      Best Lawyers in America, 2007–2021
      Massachusetts Super Lawyers, 2006–2020
             Top 100 Lawyers in Massachusetts, 2012–2015
      The Legal 500 United States: Litigation: Commercial Litigation, 2015–2017
      Global Law Experts: Technology Litigation Attorney of the Year in Massachusetts, 2015
      Euromoney Institutional Investor’s Expert Guide, Leading Patent Practitioner, 2013–2015
      Managing Intellectual Property IP STARS: Massachusetts, 2013–2020


Background and Education

      Partner, Proskauer, 2004–2020
            Co-Chair, Patent and Intellectual Property Group, 2004–2020
            Member, Executive Committee, 2009–2012
            Co-Chair, Litigation Department, 2013–2017
            Head, Boston Office, 2004–2008
            Member, International Arbitration Practice Group, 2004–2020
      Partner; Testa, Hurwitz & Thibeault; 1990–2004
            Co-Chair, IP Practice Group, 1990–2004
             Case 4:20-cv-03664-YGR Document 205-8 Filed 06/29/21 Page 7 of 8
  Adjunct Professor, Boston University School of Law, 1987–2004
  Partner, Allegretti & Witcoff, 1987-1990
  Associate; Weingarten, Schurgin, Gagenbin & Hayes; 1984–1987
  Law Clerk and Technical Advisor, Senior Judge Philip Nichols Jr., United States Court of Appeals for the Federal
  Circuit, 1983–1984
  J.D., cum laude, Boston University School of Law, 1983
  M.S., Electrical Engineering and Computer Science, Massachusetts Institute of Technology, 1980
  B.S., Electrical Engineering, Massachusetts Institute of Technology, 1979
  Co-op Electrical Engineer; U.S. Naval Surface Weapons Center; Silver Spring, MD; 1977–1980
  Consultant; Systems Planning Corporation; Arlington, VA; 1980




Counsel Comments
        “For more than a decade, I entrusted Steve with the most significant, most impactful, most complex IP
        litigation for my global technology company. His open, honest and direct approach, combined with his highly
        sophisticated legal acumen and technical excellence, helped us achieve fantastic results, and he always
        acted with integrity, sincerity and purpose. I would hire him again any day.”

        – Vice President and General Counsel, Leading Technology Company
        “Steve’s extensive knowledge and experience over decades of practice allow him to view issues holistically,
        resulting in more creative pathways to resolution. He is a true counselor and advocate, balancing those roles
        effectively to meet his clients’ objectives.”

        – General Counsel, Therapeutics Industry
        “Steve is whip smart. While he was a fierce advocate in private practice, he has a very even keel and is able
        to creatively address and resolve complex technology disputes. He is a joy to work with.”

        – Internationally Recognized Technology Litigator
        “Steve has handled many patent infringement lawsuits for me, all with excellent results. The depth of Steve’s
        knowledge of and experience in patent litigation marries incredibly well with his judgment, intuition and ability
        to read people, making him an exceptional strategic advisor and negotiator. All of this, combined with his
        ultra-professional, budget-conscious and patient approach to client management, will make him an
        outstanding mediator.”

        – Associate General Counsel, Software Company
        “Steve is one of the smartest people you will meet. Some mediators don’t fully understand patents and thus
        can’t see the actual strengths and weaknesses of each argument in a case. He can take a patent case apart
        on the merits and devise creative solutions. I like that he is aggressive in his approach. He is a facilitator and
        a very active participant in the meeting of the minds. He pushes people to keep the conversation going and
        to keep talking until a case is settled. I will definitely be using him for mediations in the future.”

        – Nationally Known High-Stakes Litigator
        “I’ve been through multiple IP litigations and mediations with Steve Bauer at my side over the past two
        decades. Steve’s deep knowledge of IP, his long experience representing clients in litigation and mediation
        settings, and his pragmatic approach make him an ideal mediator. Steve is thoughtful, curious and always
        fair and balanced.”

        – General Counsel, Leading Technology Company
        “Steve is a business-minded counselor with the intellect and curiosity to quickly understand complex matters
        across a wide array of technologies. He delivers results and has earned the respect of his colleagues and his
        clients.”

        – VP, Global Head of Strategy, Business Development and M&A, Patents
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News
      November 9, 2020
      Steven M. Bauer, Esq., Joins JAMS in Boston
      https://www.jamsadr.com//news/2020/steven-m-bauer-esq-joins-jams-in-boston


Events
Publications
      February 10, 2021
      Is ADR the Cure for COVID-19-Related Litigation?
      https://www.jamsadr.com//blog/2021/is-adr-the-cure-for-covid-19-related-litigation


Practice Areas
      Business & Commercial
      Intellectual Property
      International & Cross-Border
      Life Sciences
      Special Master/Discovery Referee


Locations
      Boston, Massachusetts

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